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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

    IN RE: TIKTOK, INC.,                              MDL No. 2948
    CONSUMER PRIVACY
    LITIGATION,                                       Master Docket No. 20-cv-4699

                                                      Judge John Z. Lee

                                                      Magistrate Judge Sunil R. Harjani

    This Document Relates to All Cases



          SETTLING PARTIES’ PROPOSED CASE MANAGEMENT SCHEDULE

         As ordered by this Court in Case Management Order No. 1 on August 17, 2020 [ECF No.

3], the Settling Plaintiffs, certain other Plaintiffs (as specifically set forth in the signature block

below; collectively representing fourteen of the nineteen related actions in the MDL)1, and

Defendants jointly submit this case management schedule and state as follows:

         1.     On August 13, 2020, the Settling Plaintiffs and Defendants (together, the “Settling

Parties”) reached a Settlement in principle, subject to certain conditions, which will resolve all of

the claims asserted in the MDL, on a class-wide basis. The settlement is the result of extensive,

hard-fought, arms-length negotiations and a mediation with the Honorable Layn Phillips (defined

herein as “Settlement”). The Settling Parties are currently working vigorously, efficiently and




1
  Though this statement is being submitted on behalf of the majority of the parties in the cases
comprising the MDL, there is some disagreement involving a handful of counsel concerning the
requirements of Case Management Order No. 1 (“CMO No. 1”). CMO No. 1 provides for an
appropriate meet and confer and a joint proposed case management schedule, but only “to the
extent applicable.” (See CMO No. 1 at ¶9(d), 9(f)). Here, such discussions are not applicable
since the case has settled and all parties have been advised of the fact of settlement.
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expeditiously to finalize the Settlement and fulfill the conditions associated therewith so that it

may be presented to the Court for preliminary approval.

       2.      Prior to the administrative transfer of cases comprising this MDL and the Court’s

entry of Case Management Order No. 1, counsel in the Northern District of Illinois Consolidated

Action advised the Court of the Settlement in a joint status report. The joint status report was

filed by the parties in the consolidated E.R. matter pursuant to this Court’s order of June 18, 2020

in that case, which required the parties to report to the Court on the status of settlement [ECF No.

37]. The parties also filed the E.R. joint status report in the MDL docket so that all parties in the

MDL would be notified of the Settlement.

       3.      In the E.R. joint status report, the parties indicated that the Settling Parties support

a stay of the cases comprising the MDL, pending the filing of the motion for preliminary

approval of the settlement.

       4.      With this Court having issued a partial stay of the proceedings in paragraph 12(a)

of Case Management Order No. 1, the Settling Parties believe there is now no need for any

additional stay, that leadership proceedings should proceed on the schedule as ordered by the

Court, and that the settlement will be finalized and presented to this Court for approval within

approximately 60 days.

       5.      Therefore, the Settling Parties, with the consent of the other Plaintiffs set forth

below, propose the following schedule related to this Court’s preliminary approval of the

Settlement:

               a. Settling Parties’ Motion for Preliminary Approval to be filed on or before
                  October 26, 2020;

               b. Responses to Settling Parties’ Motion for Preliminary Approval to be filed on
                  or before November 9, 2020;



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                c. Settling Parties’ Reply in Support of the Motion for Preliminary Approval to
                   be filed on or before November 16, 2020; and

                d. Settling Parties’ Motion for Preliminary Approval Hearing on a date to be set
                   by the Court.

         6.     The Settling Parties, with the consent of the other Plaintiffs set forth below,

address the following case management issues ordered pursuant to Case Management Order No.

1:

                a. Any fact discovery that may be necessary, including any limit on the number
                   of additional interrogatories, limits on the number of additional depositions
                   and their duration, and time frame for such discovery

                   Not applicable as a result of the Settlement.

                b. Issues related to class certification and the filing of consolidated motions for
                   class certification

                   Not applicable as a result of the Settlement.

                c. The schedule for any additional expert witness disclosures and related
                   discovery

                   Not applicable as a result of the Settlement.

                d. The schedule for any dispositive motions

                   Not applicable as a result of the Settlement.

                e. Settlement efforts

                   A Settlement in principle subject to certain conditions has been reached.

                f. Any other Fed. R. Civ. P. 16 and 26(f) topics not addressed above

                   Not applicable as a result of the Settlement.


                                        Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 21, 2020, the foregoing document was filed electronically

through the Court’s Electronic Case Filing System. Service of this document is being made upon

all counsel of record in this case by the Notice of Electronic Filing issued through the Court’s

Electronic Case Filing System on this date.

                                                     /s/ Katrina Carroll

                                                     Katrina Carroll




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